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                       Exhibit C
The Wayback Case
            Machine -4:22-cv-11107-FKB-DRG                    ECF No. 18-4, PageID.667 Filed 10/11/22
                      https://web.archive.org/web/20171222135500/http://mediakits.theygsgroup.com:80/nar/additional-marketing     Page 2 of 4




      Audience
      Advertising Opportunities
             REALTOR® Magazine
                    Editorial Calendar
                    Buyers' Market
             REALTOR® AE
             REALTOR®mag.com
             eNewsletters
             Custom Opportunities
      Deadlines
      2018 Rates
      Specs
      Awards
      Contact Us




Digital Opportunities
REALTOR®mag.com Sponsored Content

Get in front of more than 520,000 unique monthly visitors. We will feature your article on REALTOR®mag.com for up to one month.
       The firstCase    4:22-cv-11107-FKB-DRG
                week your content promo is placed on the Main StageECF      No. 18-4, PageID.668
                                                                    of the Homepage                     Filed 10/11/22 Page 3 of 4
       The second week, your content will be promoted on a Section Level Landing Page
       The remainder of the month, the promotions will be in our “More About” area of the Section
       Level Landing Page

Material Requirements


       600-800 words of content.
       1 image: 830px by 230px.
       1 image: 830px by 390px.
       Image source information.
       A high-resolution photo and bio of the writer of the content.

Content suggestions:


       Include ways our readers can overcome a problem or obstacle.
       Aim to educate and avoid overly promotional language.
       Reveal best business practices from other professionals in your area of expertise.

Contact your sales representative for more information.




Email Content Sponsorship

Our emails are a great way to connect with our audience! Let us promote your webinar, e-book, special
offer content!

Editorial promotion includes a link to your webpage in marketing communications for one month:

       Business Tips Newsletter (distributed to 600,000 members)
       Applicable Internal News Service reports (750—2,000 circulation depending on report)
       REALTOR® Magazine Online Daily News for one week (over 71,000 subscribers)
       NAR Weekly Report (over 1,000,000 opt-in subscribers) - links to a REALTOR® Magazine blog post

Contact your sales representative for more information.




Print Opportunities
Hot Companies/Hot Products
REALTOR® Magazine’s HOT COMPANIES/HOT PRODUCTS special
advertising section is a popular industry showcase for new companies or
products and industry innovations. HOT COMPANIES/HOT
PRODUCTS advertorials are highly effective in communicating the
reasons why REALTORS® should be doing business with you or using
your product. All advertorials are published in both the print and digital
editions with web links.

Contact your sales representative for more information.


 LEARN MORE
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Custom REALTOR® Mini-Mag                                             ECF No. 18-4, PageID.669 Filed 10/11/22 Page 4 of 4
Promote your products and services by collaborating with our editorial team to create your own custom-published version of
REALTOR® Magazine.

      Custom content and design produced by REALTOR® Magazine in support of your messaging.
      Unparalleled access to current NAR research and statics to support your offering.
      A digital edition of your custom publication for use on your website.
      Exclusive premium advertising placement to highlight your campaign.
      Scalable print quantities to meet your needs.



Event Sponsorship
REALTOR® Magazine’s Good Neighbor Awards

REALTOR® Magazine’s Good Neighbor Awards recognize REALTORS® who make extraordinary contributions to their communities though volunteer work. Now in its 16th
year, the Good Neighbor Awards program has become one of the most beloved awards bestowed upon NAR members. Good Neighbor sponsors benefit from 10 months of
editorial and advertising exposure—from the call for entries in February to the culmination of the awards presentation and gala dinner at the REALTORS® Conference & Expo
in November.

Direct Mail List
Reach out to our 1 million real estate professionals through our subscriber list. Subscriber names and addresses are rented on a per usage basis. Markets can be separated
geographically or demographically. Contact Danny Grubert, danny.grubert@lakegroupmedia.com or (914) 925-2449 at lake Group Media for more information.

Strategic Alliance Opportunities
NAR's REALTOR Benefits®

This program can provide an additional opportunity to REALTOR® Magazine advertising and marketing partners with a different distribution channel to NAR's 1 million
members. Members recognize REALTOR Benefits® as the program that provides unique value-added offers and savings from industry-leading partners on the products and
services they use frequently. Program participants receive significant benefits through the alliance, including preferred provider status and automatic inclusion in NAR's
comprehensive REALTOR Benefits® marketing campaign. For more information or to be considered for the REALTOR Benefits® Program, please email
strat_alliance@realtors.org or call 312-329-8697.



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